         Case 19-20497 Document 285 Filed in TXSB on 09/23/20 Page 1 of 3




                 IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                                                                                  ENTERED
                         CORPUS CHRISTI DIVISION
                                                                                  09/23/2020

In re:                                         §
                                               §            Case No. 19-20497
Hidalgo County Emergency Service               §
Foundation,                                    §
                                               §            Chapter 11
Debtor.                                        §

                                           ORDER
                                         (Doc. No. 283)

      The Court has considered the Emergency Motion by the United States for
Either (a) Summary Judgment Granting Its Motion to Appoint a Trustee, or (b) an
Order Compelling Responses to Discovery and Relief In Limine on Certain
Evidentiary Issues (the “Motion”).

      The Court has also considered (a) the written discovery propounded by the
United States and attached to the Motion as Exhibit O (the “Discovery Requests”),
and (b) the Debtor’s responses to the Discovery Requests attached to the Motion as
Exhibit A and the objections stated therein (the “Responses”). The Court finds that
the Debtor has not responded to the Discovery Requests in the manner required
by the Federal Rules and controlling case authority. The Court further finds that
the objections stated in the Responses are without merit and overruled.

      Finally, the Court has considered the documents attached to the Motion
as Exhibits D, E, and F together with (a) the Debtor’s Responses, (b) the
Debtor’s response to the United States’ subpoena under Fed. R. Bankr. P. 2004,
attached to the Motion as Exhibit C, and (c) the declarations from Legacy Bank
attached to the Motion as Exhibits K, L, and M.


         Based on the foregoing, it is

         ORDERED THAT:

         1.    The Debtor’s objections stated in the Responses are overruled in their
               entirety as lacking merit. Any objections to the Discovery Requests not
               stated in the Responses are overruled as untimely.




                                               1
Case 19-20497 Document 285 Filed in TXSB on 09/23/20 Page 2 of 3




2.   Within seven days of the entry of this Order, the Debtor shall respond
     to the Discovery Requests in a manner that complies with the Federal
     Rules and controlling case authority. The Debtor must:

     a. Respond to the interrogatories from the Discovery Requests listed
        below fully and in writing under oath. Fed. R. Civ. P. 33(b)(3). The
        Debtor’s responses to these interrogatories must be “a candid
        statement of the information sought . . . .” Dollar v. Long Mfg., N.C.,
        Inc., 561 F.2d 613, 616 (5th Cir. 1977).
             i. Interrogatory No. 1;
            ii. Interrogatory No. 3;
          iii. Interrogatory No. 4;
           iv. Interrogatory No. 5;
            v. Interrogatory No. 6;
           vi. Interrogatory No. 7;
          vii. Interrogatory No. 10;
         viii. Interrogatory No. 11; and
           ix. Interrogatory No. 13.

     b. Either admit or deny the requests for admission from the Discovery
        Requests identified below, with any denial “fairly respond[ing] to the
        substance” of the request. Fed. R. Civ. P. 36(a)(3).
            i. Request for Admission No. 3;
           ii. Request for Admission No. 5;
          iii. Request for Admission No. 10;
          iv. Request for Admission No. 13; and
           v. Request for Admission No. 14.

3.   The words “signature” and “signed” as used in the Discovery Requests
     include electronic signatures. 15 U.S.C. § 7001, et seq.

4.   To the extent any of the Debtor’s responses made pursuant to this Order
     are “evasive or incomplete,” the Court will treat them as “a failure to
     disclose, answer, or respond” in compliance with this Order. See Fed. R.
     Civ. P. 37(a)(4).

5.   Due to the ongoing pandemic, the Debtor shall deliver responses to
     counsel   for  the United     States by     electronic   mail   to
     Richard.Kincheloe@usdoj.gov.




                                  2
        Case 19-20497 Document 285 Filed in TXSB on 09/23/20 Page 3 of 3




        6.    Any objections by the Debtor to the authenticity of the documents
              attached to the Motion as Exhibits D, E, and F are overruled.

ZZZZ
       Signed: September 23, 2020.

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                                            DAVID R. JONES
                                            UNITED STATES BANKRUPTCY JUDGE




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